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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION


CHILDRENS HEALTH DEFENSE ET AL                         CASE NO. 3:23-CV-00720

VERSUS                                                 JUDGE TERRY A. DOUGHTY

W P CO ET AL                                           MAG. JUDGE KAYLA D. MCCLUSKY


                                     NOTICE OF MOTION SETTING

       Please take notice that the Motion to Strike Exhibits [59-1], [59-2] & [59-3] to [59] Reply,
Alternatively, Motion to File Surreply & Motion to Strike Exhibits [57-1] & [57-2] to [57] Reply,
Alternatively, Motion to File Surreply (Documents No. 64 & 65) filed by All Plaintiffs on September 5,
2023 have been set before the Honorable Terry A. Doughty.

                                                   Deadlines

       Any party may file a memorandum in opposition to the motion by September 27, 2023. The movant
may file a reply memorandum within (seven (7) days after the opposition to the motion is filed.
OPPOSITION TO THE MOTION MUST BE FILED TIMELY OR THE MOTION WILL BE
CONSIDERED UNOPPOSED.

                                              No Oral Argument
        It is the policy of the Court to decide motions on the basis of the record without oral argument.
Briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral argument
is necessary. A written ruling will be issued in due course.

                                         Courtesy Copies Required

       An electronic copy of the motion and memoranda only shall be e-mailed in Word Format to:
Doughty_motions@lawd.uscourts.gov. If attachments are 15 pages or less, they may also be e-mailed. If
attachments exceed 15 pages, paper copies shall be provided to chambers:

                           Hon. Terry A. Doughty
                           United States District Judge
                           201 Jackson Street, Suite 215
                           Monroe, Louisiana 71201



DATE OF NOTICE: September 6, 2023

                                             TONY R. MOORE
                                             CLERK OF COURT
